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   Attorneys for Plaintiffs, MARCOS CASTANEDA, and
 5 E.C., a minor, by and through his guardian ad litem,
   MARCOS CASTANEDA
 6
                          UNITED STATES DISTRICT COURT
 7                      CENTRAL DISTRICT OF CALIFORNIA
 8
 9    ESTATE OF NORMA GUZMAN, by             CASE NO.: LACV15-07932 JAK
      and through successors in interest,    (FFMx)
10    E.G. a minor, and GLORIA               Consolidated with Case No. LACV16-
      GONZALEZ and E.G. a minor, by and      03101 JAK (FFMx))
11    through his Guardian Ad Litem Gloria
      Gonzalez and GLORIA GONZALEZ,          SECOND AMENDED COMPLAINT:
12    individually,
                                             1. VIOLATION OF FEDERAL
13                 Plaintiffs,                  CIVIL RIGHTS [42 U.S.C.
                                                §1983];
14    v.
                                             2. DEPRIVATION OF CIVIL
15    CITY OF LOS ANGELES, DOE                  RIGHTS UNDER COLOR OF
      OFFICERS 1 through 5, DOES 6              LAW: LIABILITY FOR
16    through 50, inclusive,                    UNCONSTITUTIONAL
                                                CUSTOMS AND PRACTICES
17                  Defendants.                 [42 U.S.C. 1983];
18                                           3. WRONGFUL
                                                DEATH / SURVIVAL ACTION:
19                                              ASSAULT AND BATTERY;
20                                           4. WRONGFUL
                                                DEATH / SURVIVAL ACTION:
21                                              NEGLIGENCE;
22                                           5. VIOLATION OF THE RALPH
                                                CIVIL RIGHTS ACT [Cal. Civ.
23                                              Code § 51.7];
24                                           6. VIOLATION OF THE BANE
                                                CIVIL RIGHTS ACT [Cal. Civ.
25                                              Code § 51.2];
26                                           7. NEGLIGENT HIRING,
                                                TRAINING & SUPERVISION;
27
28
                                       1
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 1    AND ALL RELATED ACTIONS                     8. VIOLATION OF THE
 2                                                   AMERICANS WITH
                                                     DISABILITIES ACT [42 USC
 3                                                   12101]

 4                                                DEMAND FOR JURY TRIAL

 5
           COME NOW, Plaintiffs Macros Castaneda, E.C., a minor, by and through his
 6
     guardian ad litem Marcos Castaneda, and Estate of Norma Angelica Guzman, by and
 7
     through successors in interest, Marcos Castaneda and E.C. (hereinafter collectively
 8
     referred to as “Plaintiffs”), hereby allege and complain as follows:
 9
                                       INTRODUCTION
10
           1.     On September 27, 2015, a 37 year old mentally ill woman Norma Guzman
11
     was mercilessly and inhumanly shot and killed in broad daylight by two Los Angeles
12
     Police Department (hereinafter “LAPD”) officers. There was no cause, provocation or
13
     justification for the use of lethal force on Ms. Guzman. Norma Guzman left surviving a
14
     16 year old son and a husband who now bring this civil rights action. This suit is meant
15
     to redress the killing of the loving mother and wife in violation of all fundamental
16
     constitutional rights, but also to uncover the ongoing and persistent despicable LAPD
17
     pattern and practice of repeatedly using excessive and lethal force on the mentally ill.
18
                                        JURISDICTION
19
           2.     This action arises under Title 42 of the United States Code, Sections 1983
20
     and 12132. Jurisdiction is conferred upon this Court by Title 28 of the United States
21
     Code, §§ 1331 and 1343. The unlawful acts and practices alleged herein occurred in the
22
     City and County of Los Angeles, California, which is within this judicial district.
23
                                            PARTIES
24
           3.     At all relevant times, Norma Angelica Guzman (hereinafter “Decedent”) was
25
     an individual residing in the City of Los Angeles, California. The claims made by the
26
     Plaintiff Estate of Norma Guzman are brought by Marcos Castaneda and E.C., a minor,
27
     as successors in interest pursuant to Cal. Code of Civil Procedure §377.30 et seq.
28
           4.  Plaintiff Marcos Castaneda is the surviving spouse of Decedent and at all
                                             2
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 1 times mentioned herein was an individual residing in Los Angeles County, State of
 2 California. Marcos Castaneda, individually, is an heir at law of Decedent as defined by
 3 the California Code of Civil Procedure §377.60(a) and elsewhere has the legal standing
 4 to maintain an action for wrongful death based upon the death of his spouse, Norma
 5 Angelica Guzman, under California Code of Civil Procedure §377.60. Plaintiff Marcos
 6 Castaneda may maintain causes of action under 42 U.S.C. §1983 as a Federal Wrongful
 7 Death Action and recover damages for the value of Decedent’s life and Decedent’s pain
 8 and suffering under cases interpreting 42 U.S.C. §1983, and violation of California Civil
 9 Code §§51.7, 52 and 52.1.
10         5.    Plaintiff E.C., a minor, by and through his Guardian ad litem Marcos
11 Castaneda, is the surviving child of Decedent and at all times mentioned herein was an
12 individual residing in Los Angeles County, State of California. E.C., individually, is an
13 heir at law of Decedent as defined by the California Code of Civil Procedure §377.60(a)
14 and elsewhere has the legal standing to maintain an action for wrongful death based upon
15 the death of his mother, Norma Angelica Guzman, under California Code of Civil
16 Procedure §377.60. Plaintiff E.C., a minor, by and through his Guardian ad litem Marcos
17 Castaneda, may maintain causes of action under 42 U.S.C. §1983 as a Federal Wrongful
18 Death Action and recover damages for the value of Decedent’s life and Decedent’s pain
19 and suffering under cases interpreting 42 U.S.C. §1983, and violation of California Civil
20 Code §§51.7, 52 and 52.1.
21         6.    Defendant Officer Samuel Briggs (hereinafter “Officer Briggs”) is and at all
22 times mentioned herein was, an Officer employed by the LAPD, who was acting within
23 the course and scope of his employment at the time he undertook the activities alleged
24 herein and was, at all times herein mentioned, acting under color of law as an employee,
25 agent, and representative of every other Defendant.
26         7.    Defendant Officer Antonio McNeely (hereinafter “Officer McNeely”) is and
27 at all times mentioned herein was, an Officer employed by the LAPD, who was acting
28 within the course and scope of his employment at the time he undertook the activities
                                       3
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                        SECOND AMENDED COMPLAINT
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 1 alleged herein and was, at all times herein mentioned, acting under color of law as an
 2 employee, agent, and representative of every other Defendant.
 3         8.     Plaintiffs are informed and believe that Defendant City of Los Angeles
 4 (hereinafter “City”) is an incorporated municipality doing business in the State of
 5 California with its principal place of business in Los Angeles, and the employer of the
 6 individual officers named as Defendants in this action.
 7         9.     Plaintiffs are informed and believe and thereon allege that Defendant Los
 8 Angeles Police Department (hereinafter “LAPD”), is a public entity existing within the
 9 State of California, County of Los Angeles. Plaintiffs are informed and believe that
10 Defendant LAPD is and was the official police agency for the CITY, at all times
11 mentioned herein, and is the employer of the individual officers named as Defendants in
12 this action.
13         10.    Plaintiffs are informed and believe that Defendant Does 1-50 are
14 supervisors, officers and/or staff of the LAPD and/or City and are fictitiously named
15 individuals whose true names are unknown to Plaintiffs at this time. The true names and
16 capacities of Does 1-50 are unknown to Plaintiffs, who therefore sue said Defendants by
17 such fictitious names and will amend this complaint to allege their true names and
18 capacities when ascertained. Plaintiffs are informed and believe and based thereon allege
19 that each of the fictitious named defendants are responsible for the acts complained of
20 herein. At all times herein mentioned Does 1-50 were acting under the color of law, to
21 wit, under the color of the statutes, ordinances, regulations, policies, customs, and usages
22 of Defendants City and LAPD and as an employee, agent and representative of every
23 Defendant. Does1 through 50 are sued in their official and individual capacity.
24         11.    At all relevant times herein, each of the defendants herein, were the agents,
25 servants, or employees of the remaining Defendants acting under color of state and/or
26 federal law, and was at all times acting within the time, purpose or scope of said agency
27 or employment, and was acting within the express or implied knowledge, permission or
28 consent of the remaining Defendants, and each of them. Each of the Defendants held out
                                       4
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 1 the other as its authorized representative and each of the Defendants ratified the conduct
 2 of its agents. At all times herein mentioned, Does 1-50, inclusive, were and are the
 3 Defendants whose identity is unknown at this time who supervised, controlled, or were
 4 in some manner responsible for the activities alleged herein and proximately caused
 5 Plaintiffs’ damages.
 6                               FACTUAL ALLEGATIONS
 7         12.   At the time of the subject incident Decedent was 37 years old. She was
 8 known in the community as someone who suffered from mental illness and completely
 9 harmless, a fact also known to Defendants.
10         13.   Prior to the subject incident, Decedent had been the subject of 7 (seven)
11 LAPD Mental Evaluation Unit (MEU) contacts. On September 19, 2015 (8 days prior to
12 this incident), Decedent had been taken into custody and placed on a 72-hour mental
13 evaluation hold by LAPD officers who responded to a call from the same location
14 regarding a female with mental illness (Decedent) who was armed with a knife, fighting
15 demons.
16         14.   On Sunday, September 27, 2015, at approximately 9:30 a.m., Decedent was
17 lawfully walking along the sidewalk of East 22nd Street and South San Pedro Street, in
18 the City of Los Angeles, California 90011. She was then and there confronted by
19 uniformed Defendant Officers Briggs and McNeely who were acting within the course
20 and scope of their duties as employees of LAPD and representatives of City.
21         15.   On information and belief, Officers Briggs and McNeely were acting on a
22 911 call reporting irregular activity. Officers Briggs and McNeely were aware that this
23 was an “ongoing incident” and that Decedent was mentally ill. They drove up to the
24 location of the Decedent and stopped their patrol vehicle in the number 2 lane adjacent
25 to two parked vehicles. They then exited their patrol vehicle, immediately drawing their
26 weapons, and ordered Decedent to approach.
27         16.   Decedent complied with Officers’ Briggs and McNeely orders without
28 incident and started walking slowly and in a nonthreatening manner towards the patrol
                                       5
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                        SECOND AMENDED COMPLAINT
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 1 car.
 2         17.     Within moments, Officers Briggs and McNeely, without cause, justification
 3 and/or provocation, intentionally fired multiple live rounds of ammunition into the upper
 4 torso of Decedent, which caused her grave bodily injuries, pain and suffering, and
 5 subsequent death at a nearby hospital where she was taken shortly thereafter.
 6         18.     Plaintiffs are informed, believe and thereon allege that Decedent was known
 7 to Officers Briggs and McNeely, City, LAPD and Does 1-50 to be mentally challenged
 8 and completely harmless.
 9         19.     At the time Decedent was approached by Officers Briggs and McNeely, she
10 was not acting in the commission of any crime, did not threaten or otherwise pose an
11 immediate threat of death or serious bodily injury to Officers Briggs and McNeely or the
12 general public, and was compliant with the Officers’ Briggs and McNeely orders.
13         20.     The activities undertaken by Officers Briggs and McNeely constituted an
14 inappropriate seizure of a person under the Fourth Amendment of the United States
15 Constitution as Decedent was: (1) not acting in the commission of any crime when
16 approached by both Officers Briggs and McNeely; (2) compliant with both police officers
17 orders; (3) mentally challenged, a fact known to each of the Defendants prior to the
18 shooting of Decedent.
19         21.     The repeated discharge of their firearms by Defendants Officers Briggs and
20 McNeely upon Decedent constituted excessive force in violation of the Fourth and
21 Fourteenth Amendment of the United States Constitution and state laws.
22         22.     The actions of Defendants, and each of them, were in violation of the Fourth
23 and Fourteenth Amendments of the United States Constitution and the action undertaken
24 by Defendants constituted an unjustified seizure of his person, deprivation of his liberty
25 interest, excessive force and were in violation of Decedent’s civil rights under color of
26 law under 42 U.S.C. §1983 and other sections of the United States Code as more fully set
27 forth herein.
28         23.     Plaintiffs are informed, believe and thereon allege, that Defendants City,
                                       6
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 1 LAPD, Officers Briggs and McNeely, and Does 1 through 50, and their decision makers,
 2 acted with deliberate indifference, gross negligence, and reckless disregard for the safety,
 3 security and constitutional and statutory rights of Decedent and Plaintiffs, and all persons
 4 similarly situated, maintained, enforced, tolerated, permitted, acquiesced in, and applied
 5 policies, practices or customs and usages of among other things: subjecting peopled to
 6 unreasonable uses of force against their persons:
 7                a.    selecting, retaining and assigning employees with demonstrable
 8 propensities for excessive force, violence and other misconduct;
 9                b.    failing adequately train, supervise and control employees in the
10 dangers of repeated discharge of firearms including, without limitation, the use of
11 potentially lethal tactics on individuals who may have pre-existing medical conditions
12 which make such tactics unreasonably dangerous;
13                c.    condoning and encouraging officers in the belief that they can violate
14 the rights of persons such as Decedent in this action with impunity, and that such conduct
15 will not adversely affect their opportunities for promotion and other employment benefits.
16         24.    Plaintiffs are informed and believe and thereon allege that Defendants City
17 and/or LAPD have longstanding custom, policy and practice of violating civil rights,
18 including excessive use of force and other similar actions, and ordered, authorized,
19 acquiesced in, tolerated, permitted or maintained custom and usages permitting the other
20 defendants herein to engage in the unlawful and unconstitutional actions, policies,
21 practices and customs or usages set forth in the foregoing paragraph. Defendants’ conduct
22 as alleged herein constitutes a pattern of unconstitutional violations based either on a
23 deliberate plan by defendants or on defendants’ deliberate indifference, gross negligence,
24 or reckless disregard to the safety, security and rights of Plaintiffs and Decedent.
25         25.    Plaintiffs allege that Defendants, and each of them, acted in violation of the
26 United States Constitution and that Decedent’s constitutional rights were violated.
27 Defendants, and each of them, acted in violation of Decedent’s constitutional rights under
28 the Fourth and Fourteenth Amendment to the United States Constitution. Decedent was
                                       7
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                        SECOND AMENDED COMPLAINT
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 1 subjected to an excessive amount of force where she had committed no criminal act,
 2 engaged in no suspicious criminal activity, and was seized without probable cause by
 3 Defendants while acting under color of law, pursuant to their actual apparent authority.
 4         26.     As a result of the repeated unconstitutional actions of Defendants, and each
 5 of them, Decedent died. Plaintiffs have suffered, and continue to suffer, devastating and
 6 overwhelming severe emotional distress, disgust, shock, anger, fright, nervousness, and
 7 terror. Plaintiffs have further suffered economic and non-economic damages.
 8                                FIRST CAUSE OF ACTION
 9                       VIOLATION OF FEDERAL CIVIL RIGHTS
10                                      [42 U.S.C. §1983]
11    (Against Defendants Officer Samuel Briggs, Officer Antonio McNeely and Does
12                                        1-50, inclusive)
13         27.     Plaintiffs hereby incorporate Paragraphs 1 through 25, as though fully set
14 forth herein.
15         28.     This cause of action is to redress a deprivation, under color of authority,
16 statute, ordinance, regulation, policy, custom, practice or usage of a right, privilege, and
17 immunity secured to Plaintiffs by the Fourth and Fourteenth Amendments to the United
18 States Constitution.
19         29.     Defendants, and each of them, owed a duty of ordinary care to avoid harm
20 to Decedent.
21         30.     Plaintiffs contend and herein allege that Defendant Officers Briggs and
22 McNeely, and Does 1 through 50, when they shot and killed Decedent, violated her right
23 to be free from unreasonable search and seizures as guaranteed under the Fourth and
24 Fourteenth Amendment to the United States Constitution. Further, at the time Decedent
25 was shot and killed she posed no danger to Defendant Officers Briggs and McNeely, and
26 Does 1 through 50 or the general public. She was therefore subjected to excessive force
27 in violation of the Fourth and Fourteenth Amendment of the United States Constitution.
28         31.     Plaintiffs further contend and allege that Defendant Officers’ Briggs and
                                       8
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                        SECOND AMENDED COMPLAINT
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 1 McNeely, and Does’ 1 through 50 shooting and killing of Decedent was willful and done
 2 with either actual malice or deliberate indifference to Decedent’s civil rights and safety,
 3 and therefore, warrants the imposition of punitive damages.
 4         32.    The actions of Defendant Officers Briggs and McNeely, and Does 1 through
 5 50, as aforesaid, violated the Fourth and Fourteenth Amendments of the United States
 6 Constitution and violated 42 U.S.C. §1983. The violation of Decedent’s civil rights
 7 directly and proximately caused the injuries and damages to Plaintiffs as more fully set
 8 forth below.
 9         33.    The false and illegal seizure and use of excessive force upon Decedent was
10 in violation of his civil rights to be free from the unreasonable search and seizure of his
11 person, to be free from the loss of his physical liberty interest, and denial of substantive
12 due process under the Fourth and Fourteenth Amendments of the United States
13 Constitution. In addition, in taking the aforesaid actions of Defendant Officers Briggs and
14 McNeely, and Does 1 through 50, violated Decedent’s civil rights, by being deliberately
15 indifferent to Decedent’s physical security, as set forth in Wood v. Ostrander, 879 F.2d
16 583 (1983).
17         34.    Defendant Officers Briggs and McNeely, and Does 1 through 50 violated
18 Decedent’s and Plaintiffs’ civil rights by using the degree of physical coercion which was
19 not objectively reasonable under the circumstances. Decedent, who was know to
20 Defendants to be mentally challenged and posed no threat to anyone, including
21 Defendants, was cooperative with the officers and had committed no crime. Defendant
22 Officers’ Briggs and McNeely, and Does’ 1 through 50 use of excessive force was
23 unreasonable and in violation of Decedent’s civil rights under the Fourth and Fourteenth
24 Amendments of the United States Constitution to be free from an unreasonable seizure
25 of his person and to be free from a loss of physical liberty.
26         35.    Defendant Officers’ Briggs and McNeely, and Does’ 1 through 50 use of
27 excessive force was unreasonable and in violation of Decedent’s and Plaintiffs’ civil right
28 and violated the Fourteenth Amendment of the United States Constitution as their actions
                                       9
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                        SECOND AMENDED COMPLAINT
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  1 were sadistic and malicious and did not further any legitimate purpose.
  2         36.    As a direct and proximate result of the conduct of said Defendants, and each
  3 of them, Decedent suffered the following injuries and damages for which Plaintiffs may
  4 recover:
  5                a.     Violation of Decedent’s constitutional rights under the Fourth and
  6                       Fourteenth Amendments to the United States Constitution to be free
  7                       from unreasonable search and seizure of his person, deprivation of
  8                       life and liberty and denial of due process of law;
  9                b.     Loss of the life of Norma Guzman, including the value of her life;
 10                c.     Conscious physical pain, suffering and emotional trauma during the
 11                       incident.
 12         37.    As a direct and proximate result of the actions of said Defendants, and each
 13 of them, Plaintiffs have also suffered the following injuries, including but not limited to:
 14                a.     Loss of love, aide, comfort, and society due to the death of Decedent,
 15 brought on by the Defendants’ violation of Plaintiffs rights to be free from police
 16 interference with their relationship with Decedent;
 17                b.     Loss of economic support, and
 18                c.     Funeral and burial expenses according to proof.
 19         38.    The conduct of said Defendants, and each of them was reckless and acted
 20 with callous indifference to the federally protected rights of Decedent and Plaintiffs.
 21 Defendants engaged in despicable conduct with using unreasonable and excessive force
 22 and were malicious and in reckless and conscious disregard for the rights and individual
 23 safety of Plaintiffs and Decedent. As such, Plaintiffs are entitled to the punitive damages
 24 in accord with constitutionally permitted limits to punish and make an example of the
 25 individual Defendant officers.
 26         39.    Plaintiffs are entitled to an award of attorneys’ fees, costs and expenses
 27 under 42 U.S.C. 1983, as a result of Defendants’s violations of Decedent’s and Plaintiffs’
 28 civil right.
                                        10
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  1                              SECOND CAUSE OF ACTION
  2            DEPRIVATION OF CIVIL RIGHT UNDER COLOR OF LAW
  3     (Against Defendants City of Los Angeles, Los Angeles Police Department and
  4                                Does 1 through 50, inclusive)
  5         40.     Plaintiffs hereby incorporate Paragraphs 1 through 38, as though fully set
  6 forth herein.
  7         41.     At all times herein mention, Defendant City, LAPD and Does 1 through 50
  8 maintained a custom, policy and practice to allow the violation of civil rights and use of
  9 excessive force on mentally ill individuals.
 10         42.     Prior to September 27, 2015, Defendants City, LAPD and Does 1 through
 11 50 developed and/or maintained policies or custom of exhibiting deliberate indifference
 12 to the constitutional rights of mentally ill individuals.
 13         43.     It was the policy and/or custom of Defendants City, LAPD and Does 1
 14 through 50 to inadequately train and supervise its officers in conducting seizures of
 15 mentally ill individuals, thereby failing to adequately discourage further constitutional
 16 violations on the part of its officers. Defendants City, LAPD and Does 1 through 50 were
 17 aware that Defendant Officers Briggs and McNeely and various other LAPD officers, had
 18 not received proper and necessary training in safely dealing with persons with mental
 19 illnesses. As such, Defendants City, LAPD and Does 1 through 50 acted with deliberate
 20 indifference to the rights and liberties of the Plaintiffs, Decedent and public in general.
 21 Said Defendants knowingly allowed Defendant Officers Briggs and McNeely to
 22 undertake patrol in the City of Los Angeles without proper training in the handling of
 23 persons with mental illness. Said Defendants knew that such untrained officers would
 24 encounter persons with mental illness and would respond with inappropriate and
 25 excessive force.
 26         44.     As a result of the above-described policies and/or customs, officers of
 27 Defendants City and LAPD, including Defendant Officers Briggs and McNeely, believed
 28 that their actions would not be properly monitored by supervisory officers and that
                                        11
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                         SECOND AMENDED COMPLAINT
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  1 misconduct would not be investigated or sanctioned, and would be tolerated and
  2 accepted.
  3         45.    The above-described policies and customs demonstrated deliberate disregard
  4 on the part of Defendants City, LAPD and Does 1 through 50, to the constitutional rights
  5 of persons within their jurisdiction, and foreseeable effects and consequences of these
  6 custom/practice with respect to the constitutional rights of Decedent, Plaintiffs and other
  7 similarly situated, and were the cause of the violations of Decedent’s and Plaintiffs’ civil
  8 rights as alleged herein.
  9        46. Defendants City, LAPD and Does 1 through 50 together with various
 10 officials, whether named or unnamed, had either actual or constrictive knowledge of the
 11 deficient custom and practice alleged hereinabove. Despite having knowledge as stated
 12 above, said Defendants condoned, tolerated and through actions and inactions ratified
 13 such custom and practice.
 14       47. As a direct and proximate result of the conduct of Defendants, and each of
 15 them, Decedent suffered the following injuries and damages for which Plaintiffs may
 16 recover:
 17                a.    Violation of Decedent’s constitutional rights under the Fourth and
 18 Fourteenth Amendments to the United States Constitution to be free from unreasonable
 19 search and seizure of his person, deprivation of life and liberty and denial of due process
 20 of law;
 21                b.    Loss of the life of Decedent, including the value of her life;
 22                c.    Conscious physical pain, suffering and emotional trauma during the
 23 incident.
 24       48.      As a direct and proximate result of the actions of Defendants, and each of
 25 them, Plaintiffs have also suffered the following injuries, including but not limited to:
 26              a.     Loss of love, aide, comfort, and society due to the death of Decedent,
 27 brought on by the Defendants’ violation of Plaintiffs rights to be free from police
 28 interference with their relationship with Decedent;
                                        12
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                         SECOND AMENDED COMPLAINT
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  1                 b.    Loss of economic support, and
  2                 c.    Funeral and burial expenses according to proof.
  3         49.     The conduct of Defendant was reckless and constituted callous indifference
  4 to the federally protected rights of Decedent and Plaintiffs. Defendant and each of them,
  5 engage in despicable conduct by using excessive force and was malicious and in reckless
  6 and conscious disregard for the rights and individual safety of Plaintiffs. Plaintiffs are
  7 entitled to punitive damages in accord with statutorily permitted limits to punish and
  8 make an example.
  9         50.     Plaintiffs are entitled to an award of attorneys’ fees, costs and expenses
 10 under 42 U.S.C. 1983, as a result of Defendants’s violations of Decedent’s and Plaintiffs’
 11 civil right.
 12                               THIRD CAUSE OF ACTION
 13     WRONGFUL DEATH / SURVIVAL ACTION: ASSAULT AND BATTERY
 14                                  (Against All Defendants)
 15         51.     Plaintiffs hereby incorporate Paragraphs 1 through 49, as though fully set
 16 forth herein.
 17         52.     On Sunday, September 27, 2015, Decedent Norma Angelica Guzman,
 18 known to be mentally challenged to all Defendants, was lawfully walking along the
 19 sidewalk of East 22nd Street and South San Pedro Street in the City of Los Angeles,
 20 California, posing no threat to anyone, nor breaking the law and had fully complying with
 21 the police officers’ order by walking slowly and in a nonthreatening way toward the
 22 patrol car.
 23         53.     Thereafter, Defendant Officers McNeely and Briggs, in the course and scope
 24 of their employment with Defendants City and LAPD, seized and shot Decedent Norma
 25 Angelica Guzman multiple times with their firearms, and assaulted and battered Decedent
 26 Norma Angelica Guzman who died shortly thereafter at a nearby hospital. Plaintiffs are
 27 informed and believe and thereon allege that Defendant Officers McNeely and Briggs,
 28 unnecessarily, intentionally and unsafely discharged their firearms at Decedent Norma
                                        13
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                         SECOND AMENDED COMPLAINT
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  1 Angelica Guzman.
  2         54.     Defendant Officers McNeely and Briggs, and Does 3 through 50, LAPD, and
  3 City, and each of them, intended to cause, and did cause, Plaintiffs to suffer serious
  4 physical and emotional harm as the result of the intentional and unnecessary application
  5 of force to Decedent Norma Angelica Guzman.
  6         55.     Defendant Officers McNeely and Briggs, and Does 3 through 50, and each
  7 of them, are therefore liable for battery upon Decedent Norma Angelica Guzman.
  8 Additionally, Defendants City and/or the LAPD are responsible for the conduct of their
  9 employees on a theory of respondeat superior.
 10         56.     As a direct and proximate result of the actions of Defendants, and each of
 11 them, Plaintiffs have also suffered the following injuries, including, but not limited to:
 12                 a.    Loss of love, aide, comfort, future support, community, affection,
 13 society, presence, companionship, protection, consortium, counsel, contributions,
 14 accumulations, inheritance and right of inheritance of Decedent Norma Angelica
 15 Guzman, according to proof;
 16                 b.    Loss of economic support of Decedent Norma Angelica Guzman; and
 17                 c.    Funeral and burial expenses according to proof.
 18         57.     Defendants Officers McNeely and Briggs, and Does 3 through 50, inclusive,
 19 and each of them, in deliberately shooting and killing Decedent Norma Angelica Guzman
 20 without justification and in disregard of her civil rights and liberties, subjected Decedent
 21 Norma Angelica Guzman to despicable conduct in conscious disregard of her rights,
 22 thereby entitling Plaintiffs to punitive damages.
 23                              FOURTH CAUSE OF ACTION
 24            WRONGFUL DEATH / SURVIVAL ACTION: NEGLIGENCE
 25                                  (Against All Defendants)
 26         58.     Plaintiffs hereby incorporate Paragraphs 1 through 56, as though fully set
 27 forth herein.
 28         59.     On Sunday, September 27, 2015, Defendant Officers McNeely and Briggs,
                                        14
      _____________________________________________________________________
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  1 and Does 1 through 50, while in the course and scope of their employment with LAPD
  2 and as acting as representatives of the City, negligently discharged their firearms,
  3 multiple times at and upon the Decedent Norma Angelica Guzman, such that she
  4 sustained fatal injuries and died shortly thereafter at the hospital.
  5          60.   As a direct, legal and proximate result of Defendant Officers’ McNeely and
  6 Briggs, and Does 1 through 50, inclusive, negligence, Plaintiffs suffered emotional
  7 distress.
  8          61.   At all times herein mentioned, Defendant Officers McNeely and Briggs, and
  9 Does 1 through 50, inclusive, failed to follow procedural dictations and recklessly and/or
 10 negligently caused injuries and the death of Decedent Norma Angelica Guzman.
 11          62.   Each of the individual Defendants and the municipal Defendants acted in
 12 concert without authorization of law and each of the individual defendants, separately and
 13 in concert, acted negligently with reckless disregard and callous indifference, and
 14 purposely with the intent to deprive Plaintiffs of their rights and privileges, and did in fact
 15 violate the aforementioned rights and privileges.
 16          63.    As a direct and proximate result of the actions of Defendants Officers
 17 McNeely and Briggs, and Does 1 through 50, inclusive, and each of them, Plaintiffs have
 18 also suffered the following injuries, including, but not limited to:
 19                 a.    Loss of love, aide, comfort, future support, community, affection,
 20 society, presence, companionship, protection, consortium, counsel, contributions,
 21 accumulations, inheritance and right of inheritance of Decedent Norma Angelica
 22 Guzman, according to proof;
 23                 b.    Loss of economic support of Decedent Norma Angelica Guzman; and
 24                 c.    Funeral and burial expenses according to proof.
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  1                                FIFTH CAUSE OF ACTION
  2    VIOLATION OF THE RALPH CIVIL RIGHTS ACT [Cal. Civ. Code § 51.7]
  3                                  (Against All Defendants)
  4         64.     Plaintiffs hereby incorporate Paragraphs 1 through 62, as though fully set
  5 forth herein.
  6         65.     California Civil Code §51.7 also known as the Ralph Civil Rights Act,
  7 guarantees all persons within the jurisdiction of this state the right to be free from any
  8
  9 violence committed against their persons because of their race or other protected
 10 characteristic.
 11         66.     Plaintiffs are informed and believes and thereon allege that the incidents
 12 described and referenced in this complaint were motivated by Defendants Officers
 13 McNeely and Briggs and Does 1 through 50, prejudice, disdain and contempt for
 14 Hispanics.
 15         67.     Plaintiffs contend and herein allege that Defendants Officers McNeely and
 16 Briggs, and Does 1 through 50, inclusive, intentionally engaged in the use of excessive
 17 and deadly force upon Decedent Norma Angelica Guzman, and that said excessive and
 18 deadly force was motivated by Decedent Norma Angelica Guzman’s status as a
 19 Hispanic-Latin.
 20         68.     In doing the acts as alleged in this complaint, Defendants Officers McNeely
 21 and Briggs, and Does 1 through 50, knew or should have known that their actions were
 22 likely to injure and kill Decedent Norma Angelica Guzman. Plaintiffs are informed and
 23 believe, and therefore allege that, Defendants Officers McNeely and Briggs and Does 3
 24 through 50, inclusive, intended to cause injury to Decedent Norma Angelica Guzman, and
 25 acted with a wilful and conscious disregard of her rights as secured by California Civil
 26 Code §51.7, thus entitling Plaintiffs to recover punitive damages pursuant to California
 27 Civil Code §52(b)(1).
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  1         69.     Defendant Officers McNeely and Briggs and Does 3 through 50, inclusive,
  2 violation of Plaintiffs’ rights as guaranteed by California Civil Code §51.7 entitles them
  3 to compensatory and punitive damages, a $25,000.00 civil penalty, attorneys’ fees, all of
  4 which are provided in Cal. Civil Code §52 and §52.1(b), and are requested below.
  5                               SIXTH CAUSE OF ACTION
  6      VIOLATION OF THE BANE CIVIL RIGHTS ACT [Cal. Civ. Code § 51.2]
  7                                  (Against All Defendants)
  8         70.     Plaintiffs hereby incorporate Paragraphs 1 through 68, as though fully set
  9 forth herein.
 10         71.     In doing the acts as alleged in this Complaint, Defendant Officers McNeely
 11 and Briggs, and Does 1 through 50, interfered, and attempted to interfere, by threats,
 12 intimidation and coercion, with Decedent Norma Angelica Guzman’s rights as secured
 13 by California Civil Code §52.1, thus entitling Plaintiffs to recover punitive damages
 14 pursuant to California Civil Code §52(b)(1).
 15         72.     Defendant Officers McNeely and Briggs, and Does 3 through 50, inclusive,
 16 violation of Plaintiffs’ rights as guaranteed by California Civil Code §52.1 entitles them
 17 to compensatory and punitive damages, a $25,000.00 civil penalty, attorneys’ fees, and
 18 injunctive relief, all of which are provided in California Civil Code §52 and §52.1(b), and
 19 are requested below.
 20                             SEVENTH CAUSE OF ACTION
 21            NEGLIGENT HIRING, TRAINING, AND/OR SUPERVISION
 22                                  (Against All Defendants)
 23         73.     Plaintiffs hereby incorporate Paragraphs 1 through 71, as though fully set
 24 forth herein.
 25         74.     Defendant Officers McNeely and Briggs and Does 1 through 50 were unfit,
 26 incompetent, or not properly trained to perform police work for which they were hired
 27 to engage.
 28         75.     Does 31-50 are persons employed by Defendants LAPD, CITY, or both, and
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  1 who knew or should have known that Defendants Officers McNeely and Briggs, and
  2 Does 1 through 30 were unfit, incompetent, or not properly trained to perform police
  3 work and that the lack of fitness, incompetence, or improper training created a particular
  4 risk to others and, in this case, risk of death of Decedent Norma Angelica Guzman.
  5         76.    Does’ 31-50 lack of fitness, incompetence, or improper training harmed
  6 Decedent Norma Angelica Guzman causing her death and, as a result thereof, additionally
  7 harmed the Plaintiffs.
  8         77.    Does’ 31-50 negligence in hiring or training or failing to supervise Officers
  9 McNeely and Briggs, and Does 3 through 30 was a substantial factor in causing the death
 10 of Decedent Norma Angelica Guzman and consequently, the harm to the Plaintiffs.
 11                              EIGHTH CAUSE OF ACTION
 12            VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
 13                                    [42 USC 12101 et seq.]
 14                 (Against Defendants CITY OF LOS ANGELES, LAPD,
 15                                 AND DOES 1 through 50)
 16         78.    Plaintiffs incorporate by reference each and every allegation contained in
 17 paragraphs 1- 76 of Plaintiffs’ First Amended Complaint as if fully rewritten herein.
 18         79.    This cause of action is brought by Plaintiffs against aforementioned
 19 Defendants under the American with Disabilities Act (42 US Code 12101 et seq.) and the
 20 Rehabilitation act of 1973, Section 504, that were written to provide clear and
 21 comprehensive mandates for the elimination of discrimination against individuals with
 22 mental and physical impairments. “No qualified individual with a disability shall, on the
 23 basis of the disability, be excluded from participation in or be denied benefits of services,
 24 programs, or activities of a public entity, or be subjected to discrimination by the public
 25 entity.”
 26         80.    Norma Angelica Guzman was a qualified individual and a person with a
 27 disability pursuant to 42 USC § 12102(2) and 42 USC § 12131(2) because she had a
 28 mental impairment that substantially limited one or more of her major life functions. In
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  1 addition, Norma Angelica Guzman was disabled because she had had a record of having
  2 a mental impairment that substantially limited one or more of her major life functions.
  3         81.      The aforementioned Defendants are "public entities" pursuant to 42 USC §
  4 12131 and are subject to the Americans with Disabilities Act.
  5         82.      The Americans with Disabilities Act prohibits public entities from
  6 discriminating against qualified individuals in the provision of services, programs, or
  7 activities. In addition, Section 12132 prevents a public entity from excluding a person
  8 with a disability from participation in or receipt of the benefit of its services, programs,
  9 or activities.
 10         83.      The individually named Defendants, and Does 1 through 50, under color of
 11 law and acting in their capacities as law enforcement officers, defendant LAPD and
 12 defendant City all denied to this disabled Plaintiff the benefits of the public entities’
 13 services and programs and refused to allow Plaintiff to receive the benefits of the services
 14 and programs. Defendants were fully aware of Decedent’s disability and her need for
 15 medical treatment.
 16         84.      Defendants City of Los Angeles, LAPD and DOES 1 through 50 had
 17 reasonable medical services and programs available, knowing that Plaintiff was severely
 18 mentally ill but they did not accommodate her disability, did not provide medical
 19 treatment or attempt to provide medical treatment to her. Despite having numerous prior
 20 encounters with Ms. Guzman, Defendants further failed to flag the location where she had
 21 been taken into custody many times, did not adequately forewarn and/or train officers that
 22 would inevitably come into contact with her, failed to dispatch members of the LAPD’s
 23 Mental Evaluation Unit to the scene of the subject incident to assist with the mental
 24 illness crisis call-for-service; failed to manage Ms. Guzman’s case as the case of the
 25 person with a history of mental illness that had previously cased numerous responses by
 26 law enforcement.
 27         85.      Defendants refused to grant the accommodations necessary to ensure that
 28 mentally ill person, including Decedent, receive adequate medical treatment by denying
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  1 Decedent the benefit of any medical aid and treatment programs and services and by
  2 refusing to let her participate in any medical services and programs. The Defendant,
  3 thereby, acted with deliberate indifference, knowing that harm to Decedent and other
  4 persons with mental illness was likely due to their refusal to provide any medical
  5 treatment or aid and Defendants intentionally failed to act on that likelihood. Defendants
  6 thereby discriminated against the disabled Decedent.
  7         86.    Due to the acts of the Defendants, Decedent and Plaintiffs sustained
  8 damages, directly and indirectly caused by Defendants, in an amount to be proven at trial.
  9         87.    The acts of Defendants described herein in failing to provide medical
 10 treatment to Plaintiff, in excluding her from medical treatment necessary by reason of her
 11 disability violate Title II of the Americans with Disabilities Act, 42 U.S.C. Section
 12 12132.
 13         88.    Plaintiffs are informed and believe, and based thereon allege, that the LAPD,
 14 the City of Los Angeles, and its individual agents and employees, acting under color of
 15 law, have subjected Decedent and other persons to a pattern of conduct consisting
 16 violence and brutality before and at the time of making an arrest, and a pattern of denying
 17 medical aid, treatment and accommodation for disabled persons, including those within
 18 the custody of Defendants, all in deliberate indifference to and denial of the rights,
 19 privileges, and immunities guaranteed to Decedent and other citizens by the Constitution
 20 and Laws of the Unites States and the State of California. This systematic pattern of
 21 conduct has no justification or excuse in law, and is instead gratuitous, illegal, improper,
 22 malicious, unreasonable and unrelated to any activity in which law enforcement officers
 23 may appropriately and legally engage in the course of protecting persons or property, or
 24 ensuring civil order.
 25         89.    Plaintiffs are informed and believe, and based thereon allege that despite the
 26 fact they they knew or should have known of the fact that this pattern of conduct was
 27 being carried out by their agents and employees, the LAPD and the City have taken no
 28 step or effort to order a halt to the course of conduct described herein, to make redress to
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  1 this Decedent or other citizens similarly situated.
  2         90.   Plaintiffs are informed and believe, and based thereon allege, that the acts,
  3 conduct, and behavior of Defendants, were performed knowingly, intentionally, willfully,
  4 corruptly, oppressively and maliciously, and with reckless and callous disregard for
  5 Plaintiffs’ and Decedent’s rights, by reason of which Plaintiffs are entitled to an award
  6 of punitive damages in an amount that will be proven at trial.
  7         91.   By reason of the conduct of Defendants, Plaintiffs are also entitled to all
  8 remedies available against public authorities for such violations, in accordance with the
  9 Civil Rights Act of 1871, 42 USC Section 1983, 42 USC 12101 et seq.
 10                                          PRAYER
 11         WHEREFORE, Plaintiffs pray for entry of judgment against Defendants, and
 12 each of them, for each cause of action, as follows:
 13         1.    For general damages including, but not limited to, severe emotional distress,
 14               disgust, terror, fright, anger, worry, nervousness, shock, loss of enjoyment
 15               of life, loss of ability to engage in normal and customary activities, loss of
 16               comfort, society, care, love, and companionship;
 17         2.    For other and further special damages in a sum according to proof at the
 18               time of trial;
 19         3.    For other and further general damages in a sum according to proof at the
 20               time of trial;
 21         4.    For funeral and burial expenses of Decedent according to proof;
 22         5.    For all prejudgment interest, according to proof as permitted by law;
 23         6.    For punitive damages in a sum according to proof at the time of trial;
 24         7     For the costs of suit incurred herein;
 25         8.    For pretrial interest, according to statute;
 26         9.    For legal/attorney fees, expenses, and costs incurred herein in prosecution
 27               in the present action to the extent provided by law and 42 U.S.C. 1988 in
 28               particular, and
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  1        10.   For such other and further relief as the Court may deem just and proper.
  2                                              Respectfully submitted,
                                                 BERNARD & BERNARD
  3
                                               /s/ Stephen Bernard
  4 Date: May 3 , 2017                    By:__________________________________
                                               STEPHEN BERNARD, Esq.
  5                                            Attorneys for Plaintiffs, MARCOS
                                               CASTANEDA, and E.C, a minor
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